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                                                 ATTACHMENT A
I, Teresa Petit, being duly sworn, depose and state that:

I have been a Special Agent (SA), with the United States Department of Justice, Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) since May of 2014. I am a graduate of the ATF National Academy Special Agent
Basic Training Program and the Federal Law Enforcement Training Center, Criminal Investigator Training Program.
As a result of my training and experience as an ATF Special Agent, I am familiar with Federal criminal laws
pertaining to firearms violations. As a Special Agent, I am also authorized to carry firearms, execute warrants, make
arrests for offenses against the United States, and perform other such duties as authorized by law.

     l. This affidavit is made in support of a criminal complaint against Carlos Alberto SERRANO RESTREPO
        (DOB: 01/20/1978). The complaint alleges that SERRANO RESTREPO violated Title 18, United States
        Code, Section 922(g)(5), which states that it shall be unlawful for any person who being an alien is illegally
        or ulawfully in the U.S., to ship or transport in interstate or foreign commerce, or possess in or affecting
        commerce, any firearm or ammunition; or to receive any firearm or ammunition which has been shipped or
        transported in interstate or foreign commerce. The statements in this affidavit are based upon my training
        and experience, consultation with other experienced investigators and agents, review of related documents,
        and other sources of information relative to firearms investigations. This affidavit is intended to set forth
        probable cause in support of the criminal complaint and does not purport to set forth all my knowledge
        regarding this investigation. I did not, however, withhold any information or evidence that would negate
        probable cause.

     2. In my training and experience, it is common for individuals who are prohibited from purchasing or possessing
        a firearm to use false information to complete the ATF Retail Transaction Record (ATF Form 4473), to
        acquire firearms from an FFL.

     3. Between the dates of March 23 through January 10, 2024, SERRANO RESTREPO traveled to an Ohio FFL,
        located within the Northern District of Ohio. While at the FFL, SERRANO RESTREPO conducted
        approximately eleven ( l l) retail transactions for the purchase of approximately 161 firearms.

     4. In this situation, the FFL would have been prohibited from conducting the firearm transaction with
        SERRANO RESTREPO according to Title 18, United States Code, Section 922(g)(5), which states that it
        shall be unlawful for any person who being an alien, to ship or transport in interstate or foreign commerce, or
        possess in or affecting commerce, any firearm or ammunition; or to receive any firearm or ammunition which
        has been shipped or transported in interstate or foreign commerce. At the time of the purchases, SERRANO
        RESTREPO was not a citizen of the United States.

     5. To consummate the sales, SERRANO RESTREPO was required to complete an ATF Firearms Transaction
        Record. In the process, SERRANO RESTREPO attested on the ATF Form 4473 that he was a Citizen of the
        United States. He did not provide an answer to question 20 on the form asking, "If you are an alien, record
        your U.S. issued alien or admission number (AR#, USCIS#, or 194#)." SERRANO RESTREPO indicated
        "no" to 21.k, "Are you an alien illegally or unlawfully in the United States?" He also indicated "no" to
        question 21.1.1 or 21.1.2, which asks "Are you an alien who has been admitted to the United States under a
        nonimmigrant visa?" and "If you are such an alien do you fall within any of the exceptions stated in the
        instructions? (U.S. citizens/nationals leave 21.1.2 blank)."

     6. You affiant received a copy of the Ohio Department of Public Safety, Bureau of Motor Vehicles (BMV),
        Application Information for Standard Ohio Driver's License or ID Card, completed by SERRANO
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          RESTREPO on May 5, 2023. On that form, SERRANO RESTREPO indicated he was a "Temporary
          Resident (Non-U.S. Citizen)," he further provided proof that he was a Non-U.S. Citizen by displaying a
          United States of America Employment Authorization Card, with USCIC# 220-929-320. After consultation,
          with U.S . Homeland Security Investigation (HIS ), your affiant learned that the USCIC is a non-status granting
          immigration benefit.

     7. SERRANO RESTREPO returned to the Ohio BMV on June 23, 2023, and again completed an application
        on which he checked boxes for "Permanent Resident (Non-U.S. Citizen)" and "Temporary Resident (Non-
        U.S. Citizen)" and wrote "Columbia" next to the question "Country of Citizenship." SERRANO RESTREPO
        provided the BMV with a copy of the HSI Form I-797c, that reads in bold print at the top "THIS NOTICE
        DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT."

     8. On January 10, 2024, SERRANO RESTREPO traveled from his residence in the Southern District of Ohio
        to the FFL located in the Northern District of Ohio. While at the FFL, SERRANO RESTREPO completed a
        retail transaction for the purchase of twenty-two (22) firearms. The firearms were loaded into his vehicle.
        Investigators conducted physical surveillance on SERRANO RESTREPO as he returned to his residence
        located in the Southern District of Ohio.

     9. Based upon the aforementioned information and events, and your affiant's training and experience in dealing
        with Federal firearms violations, probable cause exists to believe that on or about January 10, 2024, in the
        Southern District of Ohio, Carlos ALBERTO SERRANO RESTREPO possessed firearms as he was
        prohibited according to Title 18, United States Code, Section 922(g)(5), which states that it shall be unlawful
        for any person who being an alien is illegally or ulawfully in the U.S., to ship or transport in interstate or
        foreign commerce, or possess in or affecting commerce, any firearm or ammunition; or to receive any firearm
        or ammunition which has been shipped or transported in interstate or foreign commerce. SERRANO
        RESTREPO did so in making a false or fictitious oral or written statement(s) during the acquisition or
        attempted acquisition of a firearm from a federal firearm licensee, and that such statement(s) was intended or
        likely to deceive such licensee with respect to a material fact as to the lawfulness of the sale of such firearm,
        in violation of Title 18, United States Code, Section 2(a), for an underlying violation of Title 18, United States




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Teresa Petit, ATF Special Agent




Sworn to before me and signed in my presence.


   ~ ~ -u ~                                                                1/10/2024

Chelsey M. ~ ascura                                                      Date
U.S. Magistrate Judge
